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                                          EXHIBIT
                                                                                                  FILED
                                             A1                          2nd JUDICIAL DISTRICT COURT
                                                                                      Bernalillo County
STATE OF NEW MEXICO                                                                    2/8/2019 4:33 PM
COUNTY OF BERNALILLO                                                                     James A. Noel
                                                                                CLERK OF THE COURT
SECOND JUDICIAL DISTRICT COURT
                                                                                          Patricia Serna

QUINTON BLAKE WEBB,
    Plaintiff,

V.                                                           Case No. D-202-CV-2019-01117

PATRICK CHARLES,
PHENIX TRANSPORATION WEST, and
NATIONAL FIRE & MARINE INSURANCE COMPANY,
    Defendants.

                                COMPLAINT FOR DAMAGES

       COMES NOW Plaintiff Quinton Blake Webb, by and through attorney of record

BLAZEJEWSKI & HANSEN, LLC (Heather K. Hansen and Eva K. Blazejewski), and for his

Complaint for Damages hereby states as follows:

       1.      Plaintiff Quinton Blake Webb is a resident of Bernalillo County, New Mexico.

       2.      Upon information and belief Defendant Patrick Charles was, at all times relevant

to this lawsuit, conducting business in Bernalillo County, New Mexico. On information and belief,

Mr. Charles is a resident of the State of Mississippi.

       3       Upon information and belief, Defendant Phenix Transportation West is a resident

of or doing business in Bernalillo County, New Mexico.

       4       Defendant National Fire & Marine Insurance Company is subject to the Court's

jurisdiction pursuant to Raskob v. Sanchez, 1998-NMSC-045, 126 N.M. 394, as insurer of the

vehicle owned by Phenix Transportation west and driven by Defendant Patrick Charles.

       5.      The events described in this Complaint occurred in Bernalillo County, New

Mexico.

               Jurisdiction and venue are proper in this Court.
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      Counts I and 2 — Negligence and Negligence Per Se (Defendant Patrick Charles)

        7.       On or about October 26 2018, Defendant Patrick Charles was operating a motor

vehicle.

       8.        Defendant Patrick Charles had a duty to drive in a reasonable and safe manner, and

follow traffic rules, in order to prevent foreseeable harm to others, including Plaintiff.

        9.       Defendant Patrick Charles failed to drive in a reasonable and safe manner, and

failed to follow traffic rules. Defendant Patrick Charles failed to slow for traffic conditions, and/or

failed to yield the right-of-way, and/or ignored or disregarded a traffic signal and/or ran a red light,

and/or otherwise drove improperly or illegally, causing a collision with injuries.

        10.      Defendant Patrick Charles knew or should have known that such conduct posed a

risk of harm to others, including Plaintiff.

        11.      As a result, Defendant Patrick Charles breached the duty owed to Plaintiff

        12.      Defendant Patrick Charles drove in a reckless, careless, wanton, grossly negligent

and negligent manner.

        13.      Defendant Patrick Charles violated traffic laws, codes or regulations, without just

cause or excuse. Plaintiff was in the class of persons intended to be protected by said laws.

        14.      As a direct and proximate result of Defendant Patrick Charles's wrongful conduct,

negligence, and negligence per se, a collision occurred, and Plaintiff was injured and suffered

damages.

             Counts 3 and 4—Negligent Hire/Training/Supervision and Respondent Superior

                                      (Phenix Transportation West)



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        15.     Plaintiff hereby repeats and incorporates the preceding paragraphs as though set

                forth fully herein.

        16.     At all times relevant to this lawsuit, Defendant Phenix Transportation West

                employed, supervised, controlled, and directed the actions of its employee,

                Defendant Patrick Charles.

        17.     By employing Defendant Patrick Charles, Phenix Transportation West had a duty

                to perform adequate background checks and/or properly train and/or properly and

                adequately supervise the actions of Defendant Patrick Charles, including, but not

                limited to, supervising and controlling Defendant Charles' driving conduct.

        18.     At all times relevant to this lawsuit, Defendant Patrick Charles was an agent and/or

                employee of Defendant Phenix Transportation, and on this basis Defendant Phenix

                Transportation is responsible for Defendant Charles' ordinary negligence.

                                               Damages

        19.     Plaintiff repeats the above allegations as though set forth in full.

        20.     As a further direct and proximate result of the Defendants' wrongful conduct,

Plaintiff has suffered injuries and damages including, but not limited to, physical injuries, past

incurred and future medical expenses, loss of income and income opportunity, property damage,

loss of use, loss of life's enjoyment, emotional distress, and emotional and physical pain and

suffering, all to Plaintiff's great loss in an amount to be proven at trial.

        WHEREFORE, Plaintiff requests that this Court enter Judgment against the Defendants

for compensatory and punitive damages in an amount to be proven at trial, costs incurred in the



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prosecution of this action, pre-judgment and post-judgment interest, and for such other and

additional relief as the Court may deem proper.



                                            Respectfully submitted,




                                            Eva K Blazejewski
                                            Heather K. Hansen
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